               Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                        Desc
                                                           Main Document    Page 1 of 54

Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF TENNESSEE

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Stephen                                                          Donna
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Earl                                                             Lynn
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Chewning                                                         Chewning
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
     doing business as names.
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-2572                                                      xxx-xx-1198
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
              Case 3:23-bk-32190-SHB                    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                     Desc
                                                        Main Document    Page 2 of 54
Debtor 1   Stephen Earl Chewning
Debtor 2   Donna Lynn Chewning                                                                       Case number (if known)



                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                           EIN



5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 919 Ashbrooke Way, #814
                                 Knoxville, TN 37923
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Knox
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
              Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                       Desc
                                                          Main Document    Page 3 of 54
Debtor 1    Stephen Earl Chewning
Debtor 2    Donna Lynn Chewning                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 3:23-bk-32190-SHB                     Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                      Desc
                                                         Main Document    Page 4 of 54
Debtor 1    Stephen Earl Chewning
Debtor 2    Donna Lynn Chewning                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.       Go to Part 4.
    business?
                                      Yes.      Name and location of business
     A sole proprietorship is a
     business you operate as                    Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                  Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                       Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small         No.       I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11                     Code.
    U.S.C. § 101(51D).

                                      Yes.      I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                                I do not choose to proceed under Subchapter V of Chapter 11.

                                       Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                                choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                           What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                       If immediate attention is
    immediate attention?                      needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,              Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
               Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                    Desc
                                                           Main Document    Page 5 of 54
Debtor 1    Stephen Earl Chewning
Debtor 2    Donna Lynn Chewning                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              Case 3:23-bk-32190-SHB                     Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                         Main Document    Page 6 of 54
Debtor 1    Stephen Earl Chewning
Debtor 2    Donna Lynn Chewning                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                    are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?                            100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion

20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Stephen Earl Chewning                                         /s/ Donna Lynn Chewning
                                 Stephen Earl Chewning                                             Donna Lynn Chewning
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     12/7/2023                                         Executed on     12/7/2023
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
              Case 3:23-bk-32190-SHB                        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                    Desc
                                                            Main Document    Page 7 of 54
Debtor 1   Stephen Earl Chewning
Debtor 2   Donna Lynn Chewning                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Richard M. Mayer /s/ John P. Newton                            Date         12/7/2023
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Richard M. Mayer / John P. Newton
                                Printed name

                                Law Offices of Mayer & Newton
                                Firm name

                                8351 E. Walker Springs Lane
                                Suite 100
                                Knoxville, TN 37923
                                Number, Street, City, State & ZIP Code

                                                                                                                   mayerandnewton@mayerandnewton.
                                Contact phone     (865) 588-5111                             Email address         com
                                5534 / 10817 TN
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
Case 3:23-bk-32190-SHB        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16              Desc
                              Main Document    Page 8 of 54




                                               Certificate Number: 03621-TNE-CC-037959344


                                                              03621-TNE-CC-037959344




                    CERTIFICATE OF COUNSELING

I CERTIFY that on November 21, 2023, at 11:41 o'clock AM EST, Donna L
Chewning received from Credit Card Management Services, Inc. d/b/a
Debthelper.com, an agency approved pursuant to 11 U.S.C. 111 to provide credit
counseling in the Eastern District of Tennessee, an individual [or group] briefing
that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   November 21, 2023                      By:      /s/Debora Velasquez


                                               Name: Debora Velasquez


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
Case 3:23-bk-32190-SHB        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16              Desc
                              Main Document    Page 9 of 54




                                               Certificate Number: 03621-TNE-CC-037959343


                                                              03621-TNE-CC-037959343




                    CERTIFICATE OF COUNSELING

I CERTIFY that on November 21, 2023, at 11:41 o'clock AM EST, Stephen E
Chewning received from Credit Card Management Services, Inc. d/b/a
Debthelper.com, an agency approved pursuant to 11 U.S.C. 111 to provide credit
counseling in the Eastern District of Tennessee, an individual [or group] briefing
that complied with the provisions of 11 U.S.C. 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   November 21, 2023                      By:      /s/Debora Velasquez


                                               Name: Debora Velasquez


                                               Title:   Credit Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).
              Case 3:23-bk-32190-SHB                     Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                       Desc
                                                        Main Document    Page 10 of 54



Fill in this information to identify your case:

Debtor 1                  Stephen Earl Chewning
                          First Name                  Middle Name                   Last Name

Debtor 2                  Donna Lynn Chewning
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                            Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                            Dates Debtor 2
                                                          lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income           Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.       (before deductions
                                                                               exclusions)                                                and exclusions)




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
           Case 3:23-bk-32190-SHB                        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                        Desc
                                                        Main Document    Page 11 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                                      Case number (if known)


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                      Debtor 2
                                                Sources of income              Gross income from              Sources of income            Gross income
                                                Describe below.                each source                    Describe below.              (before deductions
                                                                               (before deductions and                                      and exclusions)
                                                                               exclusions)
From January 1 of current year until SSI Benefits                                          $47,201.00         SSI Benefits                         $13,920.00
the date you filed for bankruptcy:


                                                VA Disability                              $19,845.00         VA Disability                         $3,600.00

                                                Pension                                    $23,904.00

For last calendar year:                         SSI Benefits                               $47,258.00         SSI Benefits                         $13,920.00
(January 1 to December 31, 2022 )


                                                VA Disability                              $19,920.00         VA Disability                         $3,600.00

                                                Pension                                    $23,904.00

For the calendar year before that:              SSI Benefits                               $44,628.00         SSI Benefits                         $13,920.00
(January 1 to December 31, 2021 )


                                                VA Disability                              $18,804.00         VA Disability                         $3,600.00

                                                Pension                                    $23,904.00


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
           Case 3:23-bk-32190-SHB                        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                        Desc
                                                        Main Document    Page 12 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                                      Case number (if known)


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      Toyota Financial Services                           Regular on-going                 $2,109.00          $35,196.00         Mortgage
      Atty: Bankruptcy Dept                               monthly payments                                                       Car
      P.O. Box 8026                                       in the amount of
                                                                                                                                 Credit Card
      Cedar Rapids, IA 52409                              $703.00 per mo.
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      Mission Lane LLC                                    9/2023 to 11/2023                $2,645.00            $1,791.00        Mortgage
      Attn: Bankruptcy Dept.                                                                                                     Car
      P.O. Box 105286                                                                                                            Credit Card
      Atlanta, GA 30348
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      Linx Legal Inc.                                     9/2023 to 11/2023                $3,734.00                 $0.00       Mortgage
      2120 Crown Centre Drive, #100                                                                                              Car
      Charlotte, NC 28227                                                                                                        Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      Freedom Debt Relief                                 9/2023 to 11/2023                $4,080.00                 $0.00       Mortgage
      P.O. Box 2330                                                                                                              Car
      Phoenix, AZ 85002-2330                                                                                                     Credit Card
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other Debt Relief
                                                                                                                               Agency


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
           Case 3:23-bk-32190-SHB                           Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                        Desc
                                                           Main Document    Page 13 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                                         Case number (if known)


Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number
      American Express vs Stephen                            Civil Action                 Knox Co. Chancery Court                     Pending
      Chewning                                                                            400 Main Street                             On appeal
      #206573-3                                                                           Suite 125
                                                                                                                                      Concluded
                                                                                          Knoxville, TN 37902
                                                                                                                                   Judgment Date Unknown


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
           Case 3:23-bk-32190-SHB                  Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                    Desc
                                                  Main Document    Page 14 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                               Case number (if known)


Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and         Describe any insurance coverage for the loss                     Date of your      Value of property
      how the loss occurred                                                                                       loss                           lost
                                                 Include the amount that insurance has paid. List pending
                                                 insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                Description and value of any property                    Date payment            Amount of
      Address                                            transferred                                              or transfer was          payment
      Email or website address                                                                                    made
      Person Who Made the Payment, if Not You
      Law Offices of Mayer & Newton                      Attorney Fees                                            11/16/2023              $1,300.00
      8351 E. Walker Springs Lane
      Suite 100
      Knoxville, TN 37923
      mayerandnewton@mayerandnewton.c
      om


      Credit Card Management Services, Inc.              Pre-Filing Credit Counseling Fee                         11/16/2023                 $24.00
      dba DebtHelper
      P.O. Box 220597
      West Palm Beach, FL 33422


      Credit Card Management Services, Inc.              Pre-Discharge Education Fee                              11/16/2023                 $14.00
      dba DebtHelper
      P.O. Box 220597
      West Palm Beach, FL 33422


      CIN Legal Data Services                            Credit Report                                            11/21/2023                 $74.00
      4540 Honeywell Court
      Dayton, OH 45424


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                Description and value of any property                    Date payment            Amount of
      Address                                            transferred                                              or transfer was          payment
                                                                                                                  made




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
           Case 3:23-bk-32190-SHB                           Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                   Desc
                                                           Main Document    Page 15 of 54
Debtor 1      Stephen Earl Chewning
Debtor 2      Donna Lynn Chewning                                                                        Case number (if known)


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or     Date transfer was
      Address                                                      property transferred                       payments received or debts   made
                                                                                                              paid in exchange
      Person's relationship to you
      Holiday Inn Club Vacations                                   30,000 Points. Holiday Inn                 $0 to cancel account         7/29/23
      8505 W. Irlo Bronson Memorial Hwy.                           Vacation Club Timeshare
      Kissimmee, FL 34747-8201                                     Unit



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                       Date Transfer was
                                                                                                                                           made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was          Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,         before closing or
      Code)                                                                                                           moved, or                      transfer
                                                                                                                      transferred
      Centers Investment Services                            XXXX-48MU                      Checking                  10/26/2023                 $13,909.00
      Cetera 401K                                                                           Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other


      Regions Savings                                        XXXX-2717                      Checking                  12/2023                        $8,500.00
                                                                                            Savings
                                                                                            Money Market
                                                                                            Brokerage
                                                                                            Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?            Describe the contents               Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                            have it?
                                                                   State and ZIP Code)




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
           Case 3:23-bk-32190-SHB                           Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                 Desc
                                                           Main Document    Page 16 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                                            Case number (if known)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents          Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                    have it?
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

      Extra Space Storage                                        Debtors have access.                       Golf Clubs, Christmas Decor,      No
      8627 Middlebrook Pike                                                                                 Pillows                           Yes
      Knoxville, TN 37923


Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                     Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you   Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case             Status of the
      Case Number                                                Name                                                                      case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
           Case 3:23-bk-32190-SHB                         Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                      Desc
                                                         Main Document    Page 17 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                                       Case number (if known)


Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business               Employer Identification number
      Address                                                                                                Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                             Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
           Case 3:23-bk-32190-SHB                 Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                    Desc
                                                 Main Document    Page 18 of 54
Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                              Case number (if known)



Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Stephen Earl Chewning                                   /s/ Donna Lynn Chewning
Stephen Earl Chewning                                       Donna Lynn Chewning
Signature of Debtor 1                                       Signature of Debtor 2

Date     12/7/2023                                          Date     12/7/2023

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 9
               Case 3:23-bk-32190-SHB                               Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                                        Desc
                                                                   Main Document    Page 19 of 54
 Fill in this information to identify your case:

 Debtor 1                   Stephen Earl Chewning
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Donna Lynn Chewning
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF TENNESSEE

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              65,631.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              65,631.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              35,196.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             132,720.00


                                                                                                                                     Your total liabilities $               167,916.00


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                7,707.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,728.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 3:23-bk-32190-SHB                             Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                       Desc
                                                              Main Document    Page 20 of 54
 Debtor 1      Stephen Earl Chewning
 Debtor 2      Donna Lynn Chewning                                                        Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $          0.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information            page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
              Case 3:23-bk-32190-SHB                         Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                                 Desc
                                                            Main Document    Page 21 of 54
Fill in this information to identify your case and this filing:

Debtor 1                    Stephen Earl Chewning
                            First Name                   Middle Name                       Last Name

Debtor 2                    Donna Lynn Chewning
(Spouse, if filing)         First Name                   Middle Name                       Last Name


United States Bankruptcy Court for the:           EASTERN DISTRICT OF TENNESSEE

Case number                                                                                                                                                Check if this is an
                                                                                                                                                           amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                    12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1     Make:       Toyota                                 Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
          Model:      Highlander                                Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:       2021                                      Debtor 2 only
                                                                                                                             Current value of the      Current value of the
          Approximate mileage:               43,400             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
          Other information:                                    At least one of the debtors and another
         VIN#-5TDGZRBH6MS545781
                                                                Check if this is community property                                  $31,250.00                 $31,250.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $31,250.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.

Official Form 106A/B                                                     Schedule A/B: Property                                                                         page 1
           Case 3:23-bk-32190-SHB                    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                        Desc
                                                    Main Document    Page 22 of 54
Debtor 1      Stephen Earl Chewning
Debtor 2      Donna Lynn Chewning                                                                   Case number (if known)

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
      Yes. Describe.....

                               Washer/Dryer, LR Suit, 2 BR Suits, Kitchen Table/Chairs, Wall
                               Decor                                                                                                               $850.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               TV, 2 Cell Phones, 2 Tablets                                                                                        $850.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

                               Misc. Art Objects                                                                                                   $300.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                               Golf Clubs                                                                                                          $500.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Clothing                                                                                                            $500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                               Rings, Earrings                                                                                                   $1,200.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....


Official Form 106A/B                                         Schedule A/B: Property                                                                   page 2
           Case 3:23-bk-32190-SHB                                           Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                  Desc
                                                                           Main Document    Page 23 of 54
Debtor 1        Stephen Earl Chewning
Debtor 2        Donna Lynn Chewning                                                                                         Case number (if known)

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
      Yes. Give specific information.....

                                          2 CPAP Machines                                                                                                          $300.00



15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                         $4,500.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                               Cash                                $170.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                Regions Bank                                                       $750.00



                                            17.2.       Checking                                Home Federal Bank                                                  $945.00



                                            17.3.       Savings                                 Home Federal Bank                                                $7,553.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
Official Form 106A/B                                                                     Schedule A/B: Property                                                       page 3
           Case 3:23-bk-32190-SHB                            Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                    Desc
                                                            Main Document    Page 24 of 54
Debtor 1        Stephen Earl Chewning
Debtor 2        Donna Lynn Chewning                                                                         Case number (if known)

      Yes. List each account separately.
                              Type of account:                            Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




                                                       Estimated 2023 Tax Refund                                  Federal                           $6,000.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                       Beneficiary:                          Surrender or refund
Official Form 106A/B                                                 Schedule A/B: Property                                                               page 4
            Case 3:23-bk-32190-SHB                                  Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                                     Desc
                                                                   Main Document    Page 25 of 54
Debtor 1        Stephen Earl Chewning
Debtor 2        Donna Lynn Chewning                                                                                             Case number (if known)

                                                                                                                                                              value:

                                            AAA                                                                      Donna Chewning and
                                                                                                                     Kristine Davoli                                      $2,475.00


                                            AAA                                                                      Steve Chewning and
                                                                                                                     Kristine Davoli                                      $3,438.00


                                            AAA                                                                      Donna Chewning and
                                                                                                                     Kristine Davoli                                        $656.00


                                            AARP                                                                     Steve Chewning and
                                                                                                                     Kristine Davoli                                          $20.00


                                            AARP                                                                     Donna Chewning and
                                                                                                                     Kristine Davoli                                      $2,710.00


                                            AARP                                                                     Donna Chewning and
                                                                                                                     Kristine Davoli                                        $696.00


                                            Mutual of Omaha                                                          Donna Chewning and
                                                                                                                     Kristine Davoli                                      $2,564.00


                                            Mutual of Omaha                                                          Steve Chewning and
                                                                                                                     Kristine Davoli                                      $1,904.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................            $29,881.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.

Official Form 106A/B                                                          Schedule A/B: Property                                                                           page 5
             Case 3:23-bk-32190-SHB                                    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                               Desc
                                                                      Main Document    Page 26 of 54
Debtor 1         Stephen Earl Chewning
Debtor 2         Donna Lynn Chewning                                                                                                   Case number (if known)



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                 $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................               $0.00
56. Part 2: Total vehicles, line 5                                                                           $31,250.00
57. Part 3: Total personal and household items, line 15                                                       $4,500.00
58. Part 4: Total financial assets, line 36                                                                  $29,881.00
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $65,631.00              Copy personal property total     $65,631.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $65,631.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                    page 6
              Case 3:23-bk-32190-SHB                    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                     Desc
                                                       Main Document    Page 27 of 54
Fill in this information to identify your case:

Debtor 1               Stephen Earl Chewning
                       First Name                    Middle Name                Last Name

Debtor 2               Donna Lynn Chewning
(Spouse if, filing)    First Name                    Middle Name                Last Name


United States Bankruptcy Court for the:        EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                        Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                            4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     Washer/Dryer, LR Suit, 2 BR Suits,                            $850.00                                 $850.00     Tenn. Code Ann. § 26-2-103
     Kitchen Table/Chairs, Wall Decor
     Line from Schedule A/B: 6.1                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     TV, 2 Cell Phones, 2 Tablets                                  $850.00                                 $850.00     Tenn. Code Ann. § 26-2-103
     Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Misc. Art Objects                                             $300.00                                 $300.00     Tenn. Code Ann. § 26-2-103
     Line from Schedule A/B: 8.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Golf Clubs                                                    $500.00                                 $500.00     Tenn. Code Ann. § 26-2-103
     Line from Schedule A/B: 9.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

     Clothing                                                      $500.00                                 $500.00     Tenn. Code Ann. § 26-2-104
     Line from Schedule A/B: 11.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 3
           Case 3:23-bk-32190-SHB                    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                         Desc
                                                    Main Document    Page 28 of 54
Debtor 1   Stephen Earl Chewning
Debtor 2   Donna Lynn Chewning                                                                 Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Rings, Earrings                                         $1,200.00                                  $1,200.00        Tenn. Code Ann. § 26-2-104
    Line from Schedule A/B: 12.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    2 CPAP Machines                                            $300.00                                   $300.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 14.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Cash                                                       $170.00                                   $170.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 16.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Regions Bank                                     $750.00                                   $750.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 17.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Checking: Home Federal Bank                                $945.00                                   $945.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 17.2
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Savings: Home Federal Bank                              $7,553.00                                  $7,553.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 17.3
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    Federal: Estimated 2023 Tax Refund                      $6,000.00                                  $6,000.00        Tenn. Code Ann. § 26-2-103
    Line from Schedule A/B: 28.1
                                                                                 100% of fair market value, up to
                                                                                 any applicable statutory limit

    AAA                                                     $2,475.00                                  $2,475.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Donna Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.1                                                 any applicable statutory limit

    AAA                                                     $3,438.00                                  $3,438.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Steve Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.2                                                 any applicable statutory limit

    AAA                                                        $656.00                                   $656.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Donna Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.3                                                 any applicable statutory limit

    AARP                                                        $20.00                                    $20.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Steve Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.4                                                 any applicable statutory limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 3
           Case 3:23-bk-32190-SHB                    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                         Desc
                                                    Main Document    Page 29 of 54
Debtor 1    Stephen Earl Chewning
Debtor 2    Donna Lynn Chewning                                                                Case number (if known)

    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    AARP                                                    $2,710.00                                  $2,710.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Donna Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.5                                                 any applicable statutory limit

    AARP                                                       $696.00                                   $696.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Donna Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.6                                                 any applicable statutory limit

    Mutual of Omaha                                         $2,564.00                                  $2,564.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Donna Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.7                                                 any applicable statutory limit

    Mutual of Omaha                                         $1,904.00                                  $1,904.00        Tenn. Code Ann. § 56-7-203
    Beneficiary: Steve Chewning and
    Kristine Davoli                                                              100% of fair market value, up to
    Line from Schedule A/B: 31.8                                                 any applicable statutory limit


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 3 of 3
              Case 3:23-bk-32190-SHB                          Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                             Desc
                                                             Main Document    Page 30 of 54
Fill in this information to identify your case:

Debtor 1                   Stephen Earl Chewning
                           First Name                      Middle Name                      Last Name

Debtor 2                   Donna Lynn Chewning
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Toyota Financial
2.1                                                                                                            $35,196.00               $31,250.00            $3,946.00
        Services                                 Describe the property that secures the claim:
        Creditor's Name                          2021 Toyota Highlander 43,400
                                                 miles
        Atty: Bankruptcy Dept                    VIN#-5TDGZRBH6MS545781
                                                 As of the date you file, the claim is: Check all that
        P.O. Box 8026                            apply.
        Cedar Rapids, IA 52409                       Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)
      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

Date debt was incurred          2021                      Last 4 digits of account number        0001


  Add the dollar value of your entries in Column A on this page. Write that number here:                                $35,196.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                               $35,196.00

Part 2:       List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
              Case 3:23-bk-32190-SHB                           Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                                      Desc
                                                              Main Document    Page 31 of 54
Fill in this information to identify your case:

Debtor 1                   Stephen Earl Chewning
                           First Name                      Middle Name                       Last Name

Debtor 2                   Donna Lynn Chewning
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:              EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                                               Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?

          No. Go to Part 2.
          Yes.

Part 2:        List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1          Amazon/SYNCB                                            Last 4 digits of account number         1622                                                        $3,057.00
             Nonpriority Creditor's Name
             Attn: Bankruptcy Dept.                                  When was the debt incurred?             2017
             P.O. Box 965060
             Orlando, FL 32896
             Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                 Debtor 1 only                                           Contingent
                 Debtor 2 only                                           Unliquidated
                 Debtor 1 and Debtor 2 only                              Disputed
                 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                 Check if this claim is for a community                  Student loans
             debt                                                       Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                         report as priority claims

                 No                                                      Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                     Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
                                                                                                               36978
           Case 3:23-bk-32190-SHB                       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                       Main Document    Page 32 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                     Case number (if known)

4.2      American Express                                    Last 4 digits of account number       1723                                          $15,899.00
         Nonpriority Creditor's Name
         P.O. Box 650448                                     When was the debt incurred?           1994
         Dallas, TX 75265-0448
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.3      American Express                                    Last 4 digits of account number       6663                                           $7,882.00
         Nonpriority Creditor's Name
         P.O. Box 650448                                     When was the debt incurred?           2019
         Dallas, TX 75265-0448
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.4      Capital One Bank                                    Last 4 digits of account number       3023                                            $539.00
         Nonpriority Creditor's Name
         P.O. Box 30285                                      When was the debt incurred?           2022
         Salt Lake City, UT 84130-0285
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 2 of 9
           Case 3:23-bk-32190-SHB                       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                       Main Document    Page 33 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                     Case number (if known)

4.5      Chase Card Services                                 Last 4 digits of account number       6984                                          $12,065.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2020
         P.O. Box15298
         Wilmington, DE 19850
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.6      Citibank                                            Last 4 digits of account number       3892                                           $1,496.00
         Nonpriority Creditor's Name
         P.O. Box 790040                                     When was the debt incurred?           2022
         St Louis, MO 63179
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.7      Credit One Bank                                     Last 4 digits of account number       8242                                           $1,413.00
         Nonpriority Creditor's Name
         P.O Box 60500                                       When was the debt incurred?           2022
         City Of Industry, CA 91716-0500
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 9
           Case 3:23-bk-32190-SHB                       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                       Main Document    Page 34 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                     Case number (if known)

4.8      Genesis FS Card Services                            Last 4 digits of account number       2436                                            $166.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2023
         P.O. Box 4477
         Beaverton, OR 97076
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.9      Lightstream/Truist                                  Last 4 digits of account number       2560                                          $11,923.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2019
         P.O. Box 117320
         Atlanta, GA 30368
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Signature Loan


4.1
0        Linx Legal Inc.                                     Last 4 digits of account number                                                           $0.00
         Nonpriority Creditor's Name
         2120 Crown Centre Drive, #100                       When was the debt incurred?           Unknown
         Charlotte, NC 28227
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Notice Purposes Only




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 9
           Case 3:23-bk-32190-SHB                       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                       Main Document    Page 35 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                     Case number (if known)

4.1
1        Merrick Bank                                        Last 4 digits of account number       9827                                            $453.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2023
         P.O. Box 9201
         Old Bethpage, NY 11804
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
2        Mission Lane LLC                                    Last 4 digits of account number       3006                                           $1,791.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2023
         P.O. Box 105286
         Atlanta, GA 30348
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
3        Orange Lake Resorts                                 Last 4 digits of account number       0590                                          $41,000.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2022
         8505 W. Irlo Bronson Memorial
         Hwy.
         Celebration, FL 34747
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Deficiency Balance/Fees



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 9
           Case 3:23-bk-32190-SHB                       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                       Main Document    Page 36 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                     Case number (if known)

4.1
4        Regions Bankcard                                    Last 4 digits of account number       3747                                           $1,907.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2022
         1900 5th Avenue N
         Hoover, AL 35203
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
5        Target Card Services                                Last 4 digits of account number       9310                                            $351.00
         Nonpriority Creditor's Name
         PO Box 660170                                       When was the debt incurred?           2015
         Dallas, TX 75266-0170
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
6        Truist Bank                                         Last 4 digits of account number       3456                                           $8,594.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept.                              When was the debt incurred?           2014
         200 Pine Street W
         Wilson, NC 27893
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 6 of 9
           Case 3:23-bk-32190-SHB                       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                          Desc
                                                       Main Document    Page 37 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                     Case number (if known)

4.1
7         Truist Bank                                        Last 4 digits of account number       3792                                           $8,064.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                             When was the debt incurred?           2018
          200 Pine Street W
          Wilson, NC 27893
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
8         Truist Bank                                        Last 4 digits of account number       1150                                           $4,737.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                             When was the debt incurred?           2016
          200 Pine Street W
          Wilson, NC 27893
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card


4.1
9         US Bank/RMS                                        Last 4 digits of account number       8480                                          $11,383.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy Dept.                             When was the debt incurred?           2015
          P.O. Box 5229
          Cincinnati, OH 45201
          Number Street City State Zip Code                  As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community            Student loans
          debt                                                  Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                    report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify   Credit Card

Part 3:     List Others to Be Notified About a Debt That You Already Listed


Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 7 of 9
           Case 3:23-bk-32190-SHB                        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                                   Desc
                                                        Main Document    Page 38 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                       Case number (if known)

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Capital One Bank                                         Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P.O. Box 60500                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
City of Industry, CA 91716-0500
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Citibank                                                 Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
P.O. Box 9001037                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
Louisville, KY 40290-1037
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Credit One Bank, NA                                      Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Bankruptcy Dept.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 98873
Las Vegas, NV 89193
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Holiday Inn Club Vacations                               Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
8505 W. Irlo Bronson Memorial Hwy.                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
Kissimmee, FL 34747-8201
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Knox Co. Chancery Court                                  Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
400 Main Street                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Suite 125
Dkt. #206578-3
Knoxville, TN 37902
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Regions Bank                                             Line 4.14 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Consumer Collections                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
P.O. Box 10063
Birmingham, AL 35202-0063
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Truist Bank                                              Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
successor by merger to Suntrust                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Bank
P.O. Box 26150
Richmond, VA 23260
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Truist Bank                                              Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
successor by merger to Suntrust                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Bank
P.O. Box 26150
Richmond, VA 23260
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Truist Bank                                              Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
successor by merger to Suntrust                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
Bank
P.O. Box 26150
Richmond, VA 23260
                                                         Last 4 digits of account number



Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 8 of 9
           Case 3:23-bk-32190-SHB                             Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                                   Desc
                                                             Main Document    Page 39 of 54
Debtor 1 Stephen Earl Chewning
Debtor 2 Donna Lynn Chewning                                                                            Case number (if known)

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Zwicker & Associates, PC                                     Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
5409 Maryland Way, Suite 310                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
Brentwood, TN 37027
                                                             Last 4 digits of account number


Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                           0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                  132,720.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  132,720.00




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                          Page 9 of 9
               Case 3:23-bk-32190-SHB                           Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                  Desc
                                                               Main Document    Page 40 of 54
Fill in this information to identify your case:

Debtor 1                  Stephen Earl Chewning
                          First Name                         Middle Name            Last Name

Debtor 2                  Donna Lynn Chewning
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      T-Mobile                                                                   Debtor will retain lease on cell phone.
              Customer Relations
              PO Box 37380
              Albuquerque, NM 87176-7380




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
              Case 3:23-bk-32190-SHB                                Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                   Desc
                                                                   Main Document    Page 41 of 54
Fill in this information to identify your case:

Debtor 1                   Stephen Earl Chewning
                           First Name                            Middle Name       Last Name

Debtor 2                   Donna Lynn Chewning
(Spouse if, filing)        First Name                            Middle Name       Last Name


United States Bankruptcy Court for the:                 EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                   12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                      ZIP Code




Official Form 106H                                                             Schedule H: Your Codebtors                                 Page 1 of 1
              Case 3:23-bk-32190-SHB                  Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                    Desc
                                                     Main Document    Page 42 of 54


Fill in this information to identify your case:

Debtor 1                      Stephen Earl Chewning

Debtor 2                      Donna Lynn Chewning
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF TENNESSEE

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case 3:23-bk-32190-SHB                  Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                        Desc
                                                  Main Document    Page 43 of 54

Debtor 1   Stephen Earl Chewning
Debtor 2   Donna Lynn Chewning                                                                   Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00   $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00   $                0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00   $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00   $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00   $                0.00
     5e.    Insurance                                                                     5e.        $              0.00   $                0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00   $                0.00
     5g.    Union dues                                                                    5g.        $              0.00   $                0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 + $                0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00   $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00   $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:    VA Disability                                                     8f.        $      1,504.00       $           300.00

            SSI Benefits                                                                       $            2,751.00   $            1,160.00
     8g.    Pension or retirement income                                                  8g. $             1,992.00   $                0.00
     8h.    Other monthly income. Specify:                                                8h.+ $                0.00 + $                0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          6,247.00       $           1,460.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,247.00 + $       1,460.00 = $           7,707.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          7,707.00
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
         Case 3:23-bk-32190-SHB                        Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                         Desc
                                                      Main Document    Page 44 of 54


Fill in this information to identify your case:

Debtor 1                 Stephen Earl Chewning                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                 Donna Lynn Chewning                                                                   A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF TENNESSEE                                              MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,533.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                           100.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
        Case 3:23-bk-32190-SHB                         Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                               Desc
                                                      Main Document    Page 45 of 54

Debtor 1     Stephen Earl Chewning
Debtor 2     Donna Lynn Chewning                                                                       Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 100.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 395.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                725.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                110.00
10.   Personal care products and services                                                    10. $                                                  90.00
11.   Medical and dental expenses                                                            11. $                                                 500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  60.00
14.   Charitable contributions and religious donations                                       14. $                                                  20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  465.00
      15b. Health insurance                                                                15b. $                                                  233.00
      15c. Vehicle insurance                                                               15c. $                                                  200.00
      15d. Other insurance. Specify: Dental/Vision Insurance                               15d. $                                                   40.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  707.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,728.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,728.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,707.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,728.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,979.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 3:23-bk-32190-SHB                 Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                  Desc
                                                    Main Document    Page 46 of 54




Fill in this information to identify your case:

Debtor 1                    Stephen Earl Chewning
                            First Name            Middle Name              Last Name

Debtor 2                    Donna Lynn Chewning
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:     EASTERN DISTRICT OF TENNESSEE

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Stephen Earl Chewning                                         X   /s/ Donna Lynn Chewning
             Stephen Earl Chewning                                             Donna Lynn Chewning
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       12/7/2023                                              Date    12/7/2023




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
           Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                            Desc
                                                      Main Document    Page 47 of 54

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1
           Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                 Desc
                                                      Main Document    Page 48 of 54


       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2
           Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                Desc
                                                      Main Document    Page 49 of 54
       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3
           Case 3:23-bk-32190-SHB                      Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16                                Desc
                                                      Main Document    Page 50 of 54
                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4
         Case 3:23-bk-32190-SHB       Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16             Desc
                                     Main Document    Page 51 of 54




                                     United States Bankruptcy Court
                                         Eastern District of Tennessee
         Stephen Earl Chewning
 In re   Donna Lynn Chewning                                                     Case No.
                                                       Debtor(s)                 Chapter    7




                             VERIFICATION OF CREDITOR MATRIX


      The above Debtor(s) hereby verifies under the penalty of perjury under the laws of the United States of
America that the attached list of creditors is true and correct to the best of his/her knowledge.




Date: 12/7/2023                             /s/ Stephen Earl Chewning
                                            Stephen Earl Chewning
                                            Signature of Debtor

Date: 12/7/2023                             /s/ Donna Lynn Chewning
                                            Donna Lynn Chewning
                                            Signature of Debtor

Date: 12/7/2023                             /s/ Richard M. Mayer /s/ John P. Newton
                                            Signature of Attorney
                                            Richard M. Mayer / John P. Newton
                                            Law Offices of Mayer & Newton
                                            8351 E. Walker Springs Lane
                                            Suite 100
                                            Knoxville, TN 37923
                                            (865) 588-5111 Fax: (865) 588-6143
    Case 3:23-bk-32190-SHB    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16   Desc
                             Main Document    Page 52 of 54


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        Amazon/SYNCB
                        Attn: Bankruptcy Dept.
                        P.O. Box 965060
                        Orlando, FL 32896

                        American Express
                        P.O. Box 650448
                        Dallas, TX 75265-0448

                        Capital One Bank
                        P.O. Box 30285
                        Salt Lake City, UT 84130-0285

                        Capital One Bank
                        P.O. Box 60500
                        City of Industry, CA 91716-0500

                        Chase Card Services
                        Attn: Bankruptcy Dept.
                        P.O. Box15298
                        Wilmington, DE 19850

                        Citibank
                        P.O. Box 790040
                        St Louis, MO 63179

                        Citibank
                        P.O. Box 9001037
                        Louisville, KY 40290-1037

                        Credit One Bank
                        P.O Box 60500
                        City Of Industry, CA 91716-0500

                        Credit One Bank, NA
                        Bankruptcy Dept.
                        P.O. Box 98873
                        Las Vegas, NV 89193

                        Genesis FS Card Services
                        Attn: Bankruptcy Dept.
                        P.O. Box 4477
                        Beaverton, OR 97076

                        Holiday Inn Club Vacations
                        8505 W. Irlo Bronson Memorial Hwy.
                        Kissimmee, FL 34747-8201

                        Knox Co. Chancery Court
                        400 Main Street
                        Suite 125
                        Dkt. #206578-3
                        Knoxville, TN 37902
Case 3:23-bk-32190-SHB    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16   Desc
                         Main Document    Page 53 of 54



                    Lightstream/Truist
                    Attn: Bankruptcy Dept.
                    P.O. Box 117320
                    Atlanta, GA 30368

                    Linx Legal Inc.
                    2120 Crown Centre Drive, #100
                    Charlotte, NC 28227

                    Merrick Bank
                    Attn: Bankruptcy Dept.
                    P.O. Box 9201
                    Old Bethpage, NY 11804

                    Mission Lane LLC
                    Attn: Bankruptcy Dept.
                    P.O. Box 105286
                    Atlanta, GA 30348

                    Orange Lake Resorts
                    Attn: Bankruptcy Dept.
                    8505 W. Irlo Bronson Memorial Hwy.
                    Celebration, FL 34747

                    Regions Bank
                    Consumer Collections
                    P.O. Box 10063
                    Birmingham, AL 35202-0063

                    Regions Bankcard
                    Attn: Bankruptcy Dept.
                    1900 5th Avenue N
                    Hoover, AL 35203

                    Target Card Services
                    PO Box 660170
                    Dallas, TX 75266-0170

                    Toyota Financial Services
                    Atty: Bankruptcy Dept
                    P.O. Box 8026
                    Cedar Rapids, IA 52409

                    Truist Bank
                    Attn: Bankruptcy Dept.
                    200 Pine Street W
                    Wilson, NC 27893

                    Truist Bank
                    successor by merger to Suntrust Bank
                    P.O. Box 26150
                    Richmond, VA 23260
Case 3:23-bk-32190-SHB    Doc 1 Filed 12/21/23 Entered 12/21/23 13:37:16   Desc
                         Main Document    Page 54 of 54



                    US Bank/RMS
                    Attn: Bankruptcy Dept.
                    P.O. Box 5229
                    Cincinnati, OH 45201

                    Zwicker & Associates, PC
                    5409 Maryland Way, Suite 310
                    Brentwood, TN 37027
